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                              Exhibit 1
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              IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                         IN AND FOR BROWARD COUNTY, FLORIDA
                                       CASE NO:
                                           
        ALEKSEJ GUBAREV, XBT HOLDING S.A.,
        AND WEBZILLA, INC.,
                        Plaintiffs,
        vs.

        BUZZFEED, INC. AND BEN SMITH,

                               Defendants.
                                                                      /

                                         COMPLAINT FOR DAMAGES

               Plaintiffs, Aleksej Gubarev (“Mr. Gubarev”), XBT Holding S.A. (“XBT”), and Webzilla,

        Inc. (“Webzilla”)(collectively, “Plaintiffs”) sue Defendants Buzzfeed, Inc. (“Buzzfeed”) and Ben

        Smith (“Mr. Smith”) for damages. In support, Plaintiffs allege the following:

                                       INTRODUCTORY STATEMENT

               1.      On January 10, 2017, in perhaps one of the most reckless and irresponsible moments

        in modern “journalism,” Defendant Buzzfeed and its Editor in Chief Ben Smith chose to publish a

        “dossier” of unverified information compiled by a private security company in which various

        allegations were made concerning, among other things, computer hacking allegedly carried out

        by persons or organizations with ties to Russia, the Russian Government, and/or the Federal

        Security Service of the Russian Federation (“FSB”).

               2.      And, although Buzzfeed and Smith specifically knew that at least portions of the

        dossier were untrue, they printed the entire document – without meaningful redactions –

        including those portions that falsely accused the Plaintiffs of participating in an alleged

        conspiracy to commit crimes against the Democratic Leadership, not to mention a conspiracy to




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   undermine American Democracy and the 2016 election. With respect to the Plaintiffs, these

   allegations were wholly and completely false.

          3.      Buzzfeed and Smith published these allegations without having even taken the

   most basic step of contacting the Plaintiffs to ask if the allegations had any merit. Indeed, in its

   original publication of the dossier, Buzzfeed itself admitted it had no idea what – if anything – in

   the dossier was truthful, writing:

          The dossier, which is a collection of memos written over a period of months, includes
          specific, unverified, and potentially unverifiable allegations… BuzzFeed News reporters
          in the US and Europe have been investigating various alleged facts in the dossier but
          have not verified or falsified them. …[The dossier] is not just unconfirmed: It includes
          some clear errors.

          4.      As of the date of this filing, the original Buzzfeed article has been viewed almost

   six million times and Buzzfeed has published eight additional follow-up articles, each of which

   links back to the original defamatory publication.

          5.      Plaintiff Aleksej Gubarev, who is married with three young children is not, in any

   way, shape, or form, a public figure. As a result of Buzzfeed and Mr. Smith’s reckless

   publication of defamatory materials, he has found his personal and professional reputation in

   tatters. His wife has found herself a target of online harassment and the family’s personal

   security has been compromised. Similarly, the economic damage to XBT and Webzilla (a

   Florida Corporation), including the harm to the companies’ previously-unblemished reputations

   with their clients, lenders, vendors, and others has been immediate and ongoing.

                                                PARTIES

          6.      Plaintiff Aleksej Gubarev is an individual who resides in the Republic of Cyprus.

   Mr. Gubarev has lived in Cyprus since 2002. Mr. Gubarev is the Chairman and CEO and director

   of Plaintiff XBT Holding S.A.



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          7.      Plaintiff XBT Holding S.A. is a company organized under the laws of Luxembourg.

   XBT has offices in Florida and Texas as well as other locations across the globe. XBT has various

   subsidiary companies, including Webzilla, Inc.

          8.      Plaintiff Webzilla, Inc. is a Florida corporation with offices in Fort Lauderdale.

          9.      Defendant Buzzfeed, Inc. is a Delaware Corporation. According to Buzzfeed, it has

   offices in “18 cities around the world including New York, Los Angeles, San Francisco, London,

   Sydney, Sao Paulo, and Tokyo.” Buzzfeed owns and operates the Buzzfeed.com website as well as

   the Buzzfeed mobile app. According to Buzzfeed’s media kit, it has in excess of 200 million unique

   monthly views. Buzzfeed.com is one of the most trafficked websites in the United States, currently

   ranked in the top 100 websites visited in the U.S.

          10.     Defendant Ben Smith is an individual who, on information and belief, resides in

   Brooklyn, New York. Mr. Smith is the Editor in Chief of Buzzfeed.

                   JURISDICTION, VENUE, AND CONDITIONS PRECEDENT

          11.     This Court has subject matter jurisdiction over Plaintiffs’ claim for damages as each

   claim is in excess of $15,000.

          12.     This Court has personal jurisdiction over the Defendants pursuant to Florida Statute

   48.193(1)(b). The Defendants posted defamatory materials concerning the Plaintiffs on their

   website (and through their mobile app), which materials were accessed in Florida, constituting the

   commission of the tortious act of defamation within Florida under section 48.193(1)(b).

          13.     This Court also has personal jurisdiction over the Defendants pursuant to Florida

   Statute 48.193 because:




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                  (a)     Defendants have caused injury to persons or property within Florida, arising

   out of acts or omissions undertaken outside of the state and Defendants regularly solicit advertising

   and viewers within Florida;

                  (b)     Defendants have committed intentional torts expressly aimed at one or

   more of the Plaintiffs, the effects of which were suffered in this circuit. Defendants’ intentional

   conduct was calculated to cause injury to one or more of the Plaintiffs in Florida and has caused

   injury to one or more of the Plaintiffs in Florida. Based on their intentional torts, Defendants

   should have reasonably anticipated being haled into this Court and due process is satisfied.

          14.     Venue is proper in Broward County because the tort occurred in Broward County

   and the harm to the Plaintiffs was felt in Broward County in that Plaintiff regularly conducts

   business in Broward County, Florida.

          15.     All conditions precedent to this action have been performed. Specifically, although

   not actually required to do so, Plaintiffs provided Defendants with pre-suit notice and a demand for

   a retraction pursuant to Florida Statutes Chapter 770.01, et seq. See Exhibit 1.

                                     FACTUAL ALLEGATIONS

          16.     Mr. Gubarev is an individual who lives, with his wife and three children, in Cyprus.

   He is a 36 year-old venture capitalist and tech expert. In 2002, at the age of 22, he moved from

   Russia to Cyprus and, in 2005, he founded Webzilla Limited (an XBT predecessor) – a company

   that specializes in internet hosting, data, and web-development.

          17.     Over the next 12 years, Mr. Gubarev grew XBT to an international business with

   various subsidiary companies, employing approximately 300 employees in three different

   continents. XBT has offices in Texas, Florida, and Luxembourg, among others.




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           18.     Mr. Gubarev has never been involved in politics and is not a public figure. Outside

   of technology circles, he is not known at all.

           19.     Webzilla, Inc., one of XBT’s subsidiaries, is a Florida corporation with offices in

   Fort Lauderdale, Florida and Dallas, Texas.

           20.     XBT and its subsidiaries operate approximately 37,000 servers across the globe,

   with approximately 40 percent of its business being handled over the servers run out of Dallas,

   Texas. Approximately 27 percent of XBT’s global business comes from within the United States.

           21.     Given that XBT’s and Webzilla’s businesses focus on internet hosting solutions,

   network services, and web development services, their reputation for providing secure services has

   been carefully cultivated and paramount to the success of the businesses.

           22.     Similarly, prior to the Defendants’ publication of defamatory materials, Mr.

   Gubarev’s own professional reputation has been untarnished and key to his ability to build XBT and

   Webzilla into successful international hosting companies.

           23.     On January 10, 2017, Buzzfeed and Mr. Smith published an online article entitled,

   “These Reports Allege Trump Has Deep Ties To Russia” (the “Defamatory Article”) The

   Defamatory Article, which at the time of this writing has been viewed more than 5.9 million

   times, can be found at https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-

   deep-ties-to-russia?utm_term=.fvQvex17e#.yezx3nBr3. A true and accurate copy of the

   Defamatory Article is attached hereto as Exhibit 2. On information and belief, the Defamatory

   Article has (conservatively) been viewed in Florida tens of thousands of times.

           24.     This Defamatory Article attached a 35-page unverified “dossier” of information

   compiled by a private security company. On information and belief, the dossier was created as

   part of opposition research conducted as part of the 2016 election campaign; it is not an official



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   document and was not created by any government entity. A true and accurate copy of the dossier

   attached to the Defamatory Article is attached hereto as Exhibit 3.

              25.     The dossier included various allegations concerning, among other things,

   allegations of computer hacking of the Democratic Party allegedly carried out by persons or

   organizations with ties to Russia, the Russian Government, and/or the Federal Security Service

   of the Russian Federation (“FSB”).1

              26.     With respect to the Plaintiffs, the dossier included the following assertions of fact:

                      [redacted] reported that over the period March-September 2016 a company
                      called XBT/Webzilla and its affiliates had been using botnets and porn traffic to
                      transmit viruses, plant bugs, steal data and conduct “altering operations” against
                      the Democratic Party leadership. Entities linked to one Alexei GUBAROV [sic]
                      were involved and he and another hacking expert, both recruited under duress by
                      the FSB, Seva KAPSUGOVICH, were significant players in this operation. In
                      Prague, COHEN agreed contingency plans for various scenarios to protect the
                      operations, but in particular what was to be done in the event that Hillary
                      CLINTON won the presidency. It was important in this event that all cash
                      payments owed were made quickly and discreetly and that cyber and that cyber
                      and other operators were stood down / able to go effectively to ground to cover
                      their traces.

              27.     Not a single portion of this statement (as it applies to Mr. Gubarev, XBT, or

   Webzilla) has any basis in fact whatsoever. Specifically:

              a.      Neither XBT nor Webzilla nor any of their affiliates had been “using botnets and
                      porn traffic to transmit viruses, plant bugs, steal data and conduct ‘altering
                      operations’” against the Democratic Party leadership or anyone else;

              b.      No “entities linked” to Mr. Gubarev were involved in any alleged cyber-attacks;

              c.      Mr. Gubarev was not “recruited under duress by the FSB” (to be clear, he was
                      not recruited at all – whether under duress or otherwise), nor was he recruited for
                      such activities by anyone else at any other time or in any other circumstances
                      whatsoever. Additionally, he has no knowledge of, has never met and has never
                      spoken to a person known as Seva Kapsugovich;




   1
       The FSB is the main successor agency to the USSR's Committee of State Security (“KGB”).

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          d.      Mr. Gubarev and his companies have never acted with “another hacking expert”
                  to mount a cyber-attack on the Democratic Party Leadership or on any other
                  person; and

          e.      Not having been involved in the activities attributed to them in the “dossier,”
                  neither Mr. Gubarev nor any of his companies would have had any need to “go
                  effectively to ground to cover their traces” in the event that Ms. Clinton won the
                  presidency.

          28.     Although Buzzfeed and Mr. Smith claim that they had the dossier in their

   possession for weeks prior to its publication, and despite their claims that they had four reporters

   working near full-time on attempting to verify the claims made in the dossier, prior to publishing

   the Defamatory Article and the dossier, neither Buzzfeed nor Mr. Smith contacted the Plaintiffs

   to determine if the allegations made against them had any basis in fact. After the dossier’s

   publication numerous journalists (more than 30) contacted Mr. Gubarev with some even

   arranging to travel to Cyprus to discuss the publication with Mr. Gubarev. During this time, and

   up to the present day, neither Buzfeed nor Mr. Smith contacted the Plaintiffs to determine if the

   allegations made against them had any basis in fact.

          29.     At the time the Defendants published the Defamatory Article and accompanying

   dossier, they knew, without a doubt, that at least certain portions of the dossier were untrue.

   Indeed, the Defamatory Article stated specifically that:

          The dossier, which is a collection of memos written over a period of months, includes
          specific, unverified, and potentially unverifiable allegations… BuzzFeed News reporters
          in the US and Europe have been investigating various alleged facts in the dossier but
          have not verified or falsified them. …[The dossier] is not just unconfirmed: It includes
          some clear errors.

          30.     In other words, Buzzfeed and Mr. Smith knew for sure only that certain parts of

   the dossier were untrue. Other than the portions confirmed by them to be false, Buzzfeed and

   Mr. Smith had been unable to verify the veracity of any of the claims made in the dossier.




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          31.     Indeed, Mr. Smith has admitted that Buzzfeed knew at the time that it published

   the Defamatory Article and dossier that there were “real solid reasons to distrust” the veracity of

   the allegations contained therein.

          32.     Despite these concerns, Buzzfeed and Mr. Smith took no steps to redact out the

   names of the Plaintiffs from the dossier, a step they could have taken easily and which would not

   have changed the character of their reporting.

          33.     Buzzfeed and Mr. Smith immediately faced an onslaught of criticism for their

   irresponsible decision to publish the unverified dossier and the Defamatory Article – drawing

   condemnation from media outlets and journalism experts across the political spectrum including

   The Washington Post, CNN, MSNBC, Fox News, and the Poynter Institute to name a few.

          34.     Despite this condemnation, Buzzfeed published eight additional follow-up

   articles, each of which contained a link back to the original Defamatory Article.

          30.     In addition, Mr. Smith published an Op-Ed in the New York Times and appeared

   in numerous television and radio interviews defending his decision to publish the Defamatory

   Article and the dossier. Some of these articles and interviews actually compounded the

   defamatory effect by implying that Buzzfeed had verified the claims made.

          35.     For example in his New York Times Op-Ed, Mr. Smith stated that Buzzfeed

   decided to publish the dossier “only after we had spent weeks with reporters in the United States

   and Europe trying to confirm or disprove specific claims.” What the New York Times Op-Ed

   omitted, however, is that Buzzfeed had failed entirely in these efforts. The Op-Ed also failed to

   state that Buzzfeed had made no attempts to contact Mr. Gubarev, XBT, or Webzilla and – on

   information and belief – had made no attempts to verify the claims made as to the Plaintiffs.




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            36.     Similarly, Mr. Smith stated on CNN’s Reliable Sources that Buzzfeed was

    “running it down every way we could” and told MSNBC’s Meet the Press Daily that “we, like

    many other organizations had had [the dossier] for weeks. We had reporters in Europe and the

    United States trying to stand up or knock down specific details.”

            37.     Buzzfeed and Mr. Smith’s decision to publish the unverified dossier not only flew

    in the face of all journalistic standards and ethics, but also violated Mr. Smith’s own claims of

    how Buzzfeed operates. Less than two months before it published the Defamatory Article and

    dossier, Mr. Smith wrote an article for the Columbia Journalism Review in which he claimed

    that Buzzfeed not only routinely took steps to verify the facts that they published but that doing

    so was “not complicated.” Specifically, in an article entitled “How tech and media can fight fake

    news,” published on November 17, 2016, Mr. Smith wrote:

            Mark Zuckerberg recently wrote that “identifying the ‘truth’ is complicated.” Maybe for
            algorithms and epistemologists. But it’s something that professional journalists are asked
            to do every day, and it’s not actually that complicated. The everyday reporting truths–
            who said what, when did they say it, what does the document say, where did the money
            go–are the sorts of thing we’re good at pinning down.

                       COUNT I – DEFAMATION AND DEFAMATION PER SE

            38.     Plaintiff re-alleges and re-asserts the allegations set forth in paragraphs 1-37 as if

    fully set forth herein.

            39.     Defendants Buzzfeed and Mr. Smith, by and through their representatives, published

    false and defamatory statements concerning Plaintiffs without privilege to do so.

            40.     The false and defamatory statements included, but are not limited to, allegations

    that:

            a.      XBT and Webzilla used “botnets and porn traffic to transmit viruses, plant bugs,
                    steal data and conduct ‘altering operations’” against the Democratic Party
                    leadership;

            b.      “entities linked” to Mr. Gubarev were involved in cyber-attacks;
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           c.      Mr. Gubarev was “recruited under duress by the FSB”

           d.      Mr. Gubarev and his companies acted with “another hacking expert” to mount a
                   cyber-attack on the Democratic Party Leadership; and

           e.      Mr. Gubarev and his companies would need to “go effectively to ground to cover
                   their traces” in the event that Ms. Clinton won the presidency.

           41.     The defamatory statements were published without privilege to third parties,

    including thousands or tens of thousands (or more) residents of Florida.

           42.     None of the Plaintiffs are public figures, nor are they limited public figures for

    purposes of a defamation analysis.

           43.     The defamatory statements were made negligently; without reasonable care as to

    their truth or falsity; with knowledge of their falsity; and/or with reckless disregard for the truth.

           44.     The statements allege that the Plaintiffs committed crimes including (but not

    limited to) computer hacking and that the Plaintiffs engaged in behavior designed to undermine

    American democracy and the 2016 Presidential election.

           45.     The statement are of the kind that they would tend to prejudice the Plaintiffs in

    the eyes of a substantial and respectable minority of their communities.

           46.     The statements have caused, and will continue to cause, the Plaintiffs injury in

    their personal, social, and business relations.

           47.     XBT and Webzilla have suffered, and will continue to suffer, actual injury as a

    result of injury to their corporate reputations. At least one lender has declined to do business

    with XBT and/or Webzilla based on the defamatory statements published by the Defendants and,

    on information and belief, the defamatory statements have also cost Webzilla and XBT clients.

           48.     Mr. Gubarev has suffered, and will continue to suffer, actual injury as a result of

    the injury to his personal reputation.



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            49.     The defamatory statements tend to injure the Plaintiffs in their business trade as

    the allegations call into question the security and proper operation of the Plaintiffs’ businesses.

    Additionally, the above statements subject Plaintiffs to distrust, scorn, ridicule, hatred, and

    contempt. As such, the defamatory statements constitute defamation per se.

            50.     In addition, as a direct and proximate result of the defamatory statements made by

    Defendants, Plaintiff has suffered, and continue to suffer, substantial damages.

            51.     It is clear from the statements made by Buzzfeed and Mr. Smith, discussed above,

    that they had actual knowledge of the wrongfulness of their conduct and the high probability that

    injury or damage to the Plaintiffs would result and that, despite that knowledge, the Defendants

    intentionally pursued that course of conduct, resulting in injury or damage. Accordingly, and in

    conformity with Florida Statute §768.72, the Plaintiffs will seek leave of court to seek an award

    of punitive damages against Defendants. In the alternative, Plaintiffs will also seek leave of

    court to seek punitive damages under Florida Statute §768.72 because the Defendants’ actions,

    as described above, were so reckless or wanting in care that they constituted a conscious

    disregard or indifference to the rights of the Plaintiffs.

                                        PRAYER FOR RELIEF
            WHEREFORE, plaintiffs Aleksej Gubarev, XBT Holding S.A., and Webzilla, Inc.

    pray for judgment against defendants Buzzfeed, Inc. and Ben Smith as follows:

            1.      For an award of general and special in an amount in excess fifteen thousand

    dollars ($15,000.00) in accordance with proof at trial together with interest thereon at the

    maximum legal rate; and Plaintiffs reserve the right to seek leave of court to seek punitive

    damages against Defendants in accordance with the facts and claims stated herein and

    established through discovery;

            2.      For costs of suit incurred herein; and

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           3.    For such other and further relief as to this court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

                 Plaintiffs hereby demand a trial by jury on all issues so triable.

    Respectfully submitted this 3rd day of February, 2017 by:
                                                       The Plaintiffs,
                                                       Aleksej Gubarev,
                                                       XBT Holding S.A.
                                                       Webzilla, Inc.
                                                       By their Attorneys,

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                                       EXHIBIT 2
These Reports Allege Trump Has Deep Ties To Russia - BuzzFeed News
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    Buzzfeed



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    TOP POST
    5,950,378 VIEWS

                                                                                                                                    In The News Today
    These Reports Allege Trump Has Deep                                                                                                 President Trump's senior adviser
    Ties To Russia                                                                                                                      Kellyanne Conway says she meant to
                                                                                                                                        say "Bowling Green terrorists" after
    A dossier, compiled by a person who has claimed to be a former British intelligence                                                 citing a nonexistent "massacre."
    official, alleges Russia has compromising information on Trump. The allegations are                                                 Hundreds of US residents are still
    unverified, and the report contains errors.                                                                                         trapped by Trump's executive
                                                                                                                                        immigration orders, fueling a bitter
    Originally posted on Jan. 10, 2017, at 6:20 p.m.                                                                                    battle between civil rights attorneys
    Updated on Jan. 10, 2017, at 9:09 p.m.
                                                                                                                                        and border patrol agents.

                 Ken Bensinger                                           Miriam Elder                                                   Uber CEO Travis Kalanick is
                 BuzzFeed News Reporter                                  BuzzFeed News World Editor                                     dropping out of Donald Trump's
                                                                                                                                        economic advisory panel after
                                                                                                                                        backlash among customers led to the
                 Mark Schoofs                                                                                                           "Delete Uber" hashtag.
                 BuzzFeed News Investigations
                 Editor                                                                                                                 A pharmaceutical company hiked the
                                                                                                                                        price of its life-saving overdose
                                                                                                                                        antidote from $575 to $4,100 in the
                                                                                                                                        middle of an opioid epidemic.


                                                                                                                                       Download the BuzzFeed News app




                                                                                                                                              This Is How France’s
                                                                                                                                               Nationalist Party Is
                                                                                                                                              Winning Gay Support
                                                                                                                                                by J. Lester Feder

                                                                                                                                              Connect With USNews
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    A dossier making explosive — but unverified — allegations that the Russian
    government has been “cultivating, supporting and assisting” President-elect Donald                                             Follow Us On Twitter
    Trump for years and gained compromising information about him has been


https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-ties-to-russia?utm_term=.po7Qq61Q#.jx2Wm4aW[2/3/2017 10:47:50 AM]
These Reports Allege Trump Has Deep Ties To Russia - BuzzFeed News
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    circulating among elected officials, intelligence agents, and journalists for weeks.

    The dossier, which is a collection of memos written over a period of months,
    includes specific, unverified, and potentially unverifiable allegations of contact                                                News moves fast. Keep up with
    between Trump aides and Russian operatives, and graphic claims of sexual acts                                                    the BuzzFeed News daily email.
    documented by the Russians. BuzzFeed News reporters in the US and Europe have
    been investigating various alleged facts in the dossier but have not verified or
    falsified them. CNN reported Tuesday that a two-page synopsis of the report was
    given to President Obama and Trump.
                                                                                                                                                             Sign up
    Now BuzzFeed News is publishing the full document so that Americans can make
    up their own minds about allegations about the president-elect that have circulated
    at the highest levels of the US government.
                                                                                                                                More News
    The document was prepared for political opponents of Trump by a person who is
    understood to be a former British intelligence agent. It is not just unconfirmed: It
    includes some clear errors. The report misspells the name of one company, “Alpha
    Group,” throughout. It is Alfa Group. The report says the settlement of Barvikha,
    outside Moscow, is “reserved for the residences of the top leadership and their close
    associates.” It is not reserved for anyone, and it is also populated by the very
    wealthy.
                                                                                                                                Mexico’s President Canceled His
                                                                                                                                Meeting With Trump Rather Than Pay
                                                                                                                                For The Wall
    The Trump administration’s transition team did not immediately respond to
    BuzzFeed News’ request for comment. However, the president-elect’s attorney,
    Michael Cohen, told Mic that the allegations were absolutely false.

    “It’s so ridiculous on so many levels,” he said. “Clearly, the person who created this
    did so from their imagination or did so hoping that the liberal media would run with
    this fake story for whatever rationale they might have.”
                                                                                                                                Gorsuch Would Join The Supreme
                                                                                                                                Court Millionaires’ Club If He’s
    And Trump shot back against the reports a short time later on Twitter.                                                      Confirmed



    His former campaign manager and current senior White House adviser, Kellyanne
    Conway, also denied the claims during an appearance on Late Night With Seth
    Meyers, adding that “nothing has been confirmed.” She also said Trump was “not
    aware” of any briefing on the matter.
                                                                                                                                The White House Thinks Crimea
    The documents have circulated for months and acquired a kind of legendary status                                            Sanctions Should Stay Until Russia
    among journalists, lawmakers, and intelligence officials who have seen them.                                                Returns It
    Mother Jones writer David Corn referred to the documents in a late October column.

    Harry Reid spokesman Adam Jentleson tweeted Tuesday that the former Senate
    Democratic leader had seen the documents before writing a public letter to FBI
    Director James Comey about Trump’s ties to Russia. And CNN reported Tuesday
    that Arizona Republican John McCain gave a “full copy” of the memos to Comey on
    Dec. 9, but that the FBI already had copies of many of the memos.                                                           Pentagon Report: The Military Spun
                                                                                                                                Their Intel To Make ISIS Seem Weaker

    If you have tips related to this story, write us at
    trumpstories@buzzfeed.com. To send us information
    confidentially, go here.


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    Read the report here:
                                                                                                                                Israeli Officials Actually Don’t Want The
                                                                                                                                US To Move Its Embassy To Jerusalem
       DOCUMENT       PAGES                                                                     Zoom




                                                                                                                                Trump To Publish Weekly List Of
                                                                                                                                Crimes Committed By Undocumented
                                                                                                                                Immigrants In Sanctuary Cities




                                                                                                                                Trump’s Immigration Order Is Seriously
                                                                                                                                Complicating The CIA’s Job




                                                                                                                                Thousands Of Harvard Alumni Implore
                                                                                                                                Jared Kushner For A Meeting




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                                                                                                                                Meet The “Good Trolls” Secretly Spying
                                                                                                                                On Trump Supporters And Neo-Nazis

        Ken Bensinger is an investigative reporter for BuzzFeed News and is based in Los
        Angeles. His secure PGP fingerprint is 97CC 6E32 10A2 23FE 4E84 98B4 9CFF 4214
        9D26 8AA7
        Contact Ken Bensinger at ken.bensinger@buzzfeed.com.

        Miriam Elder is the world editor for BuzzFeed News and is based in New York. Her
        secure PGP fingerprint is 5B5F EC17 C20B C11F 226D 3EBE 6205 F92F AC14 DCB1                                             Fox News Deleted A Tweet About The
        Contact Miriam Elder at miriam.elder@buzzfeed.com.
                                                                                                                                Quebec Shooting After Canada’s
                                                                                                                                Government Objected
        Pulitzer-prize winner Mark Schoofs is the investigations and projects editor for BuzzFeed
        News. While working at The Village Voice, Schoofs won the 2000 Pulitzer Prize for
        International Reporting for his series on AIDS in Africa.                                                                              More News
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